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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF INDIANA
                               INDIANAPOLIS DIVISION


 EDUARDO ALMEIDA                                               )
                                         Plaintiff,            )
                                                               )     No. 1:21-cv-3115
 v.                                                            )
                                                               )     JURY DEMANDED
 TRADE-MARK INDUSTRIAL LLC,                                    )
                                                               )
                                                               )
                                         Defendant.            )

                                        COMPLAINT AT LAW

       NOW COMES the Plaintiff, EDUARDO ALMEIDA by and through his attorneys, and

for his Complaint against the Defendant, TRADE-MARK INDUSTRIAL LLC states:

                                                THE PARTIES

       1.      Plaintiff, EDUARDO ALMEIDA, was and is a resident of Illinois at all times

relevant hereto.

       2.      TRADE-MARK INDUSTRIAL LLC is a Delaware corporation which is

registered as a foreign limited liability company to conduct business in Indiana.

                                 JURISDICTION AND VENUE

       3.      This Court has jurisdiction over this action pursuant to 28 U.S.C. §1332(a)(1) since

the matter in controversy exceeds, exclusive of interest and costs, the sum of $75,000.00 and is

between citizens of different states.

       4.      Venue of this action in the United States District Court for the Southern District of

Indiana, Indianapolis Division, is proper pursuant to 28 U.S.C. §1391 because the Defendant

TRADE-MARK INDUSTRIAL LLC resides in and does business in, this district.



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       5.      On April 19, 2010, TRADE-MARK INDUSTRIAL LLC applied for a Certificate

of Authority to transact business in the State of Indiana.

       6.      On May 6, 2010, TRADE-MARK INDUSTRIAL LLC was granted a Certificate

of Authority by the State of Indiana, Office of the Secretary of State, to transact business in the

State of Indiana.

       7.       That TRADE-MARK INDUSTRIAL LLC is perpetual in duration.

       8.      That TRADE-MARK INDUSTRIAL LLC has a legally designated recipient for

service of process in the State of Indiana.

       9.      That TRADE-MARK INDUSTRIAL LLC advertises and holds itself out as

doing business in Indiana.

       10.     That TRADE-MARK INDUSTRIAL LLC advertises and holds itself out as a

multi-trade contractor specializing in millwrighting, rigging, electrical, piping and sheet metal

installations and repairs whose primary focus includes the Indiana market.

       11.     That TRADE-MARK INDUSTRIAL LLC advertises and holds itself out as

providing millwrighting and rigging across southern Indiana.

       12.     That TRADE-MARK INDUSTRIAL LLC advertises and holds itself out as

providing industrial pipping services across southern Indiana.

       13.     That TRADE-MARK INDUSTRIAL LLC advertises and holds itself out as

providing commercial electrical contracting across southern Indiana.

       14.     That TRADE-MARK INDUSTRIAL LLC advertises and holds itself out as

providing sheet metal and HVAC services across southern Indiana.

       15.     That TRADE-MARK INDUSTRIAL LLC advertises and holds itself out as

providing fabrication services across southern Indiana.


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        16.     That TRADE-MARK INDUSTRIAL LLC advertises that its USA operations

include a satellite office in Indiana.

        17.     That TRADE-MARK INDUSTRIAL LLC advertises and holds itself out as

having a satellite site at Toyota Motor Manufacturing Indiana, Inc., (TMMI).

        18.     That TRADE-MARK INDUSTRIAL LLC advertises the name and Indiana based

contact information for the project coordinator of the TRADE-MARK INDUSTRIAL LLC

satellite site at Toyota Motor Manufacturing Indiana, Inc., (TMMI).

                                   FACTUAL ALLEGATIONS

        19.     That on, prior, and subsequent to January 6, 2020, TRADE-MARK

INDUSTRIAL LLC by and through its agents, servants and/or employees, whether actual or

apparent was an industrial, commercial and institutional multi-trade contractor.

        20.     That on, prior, and subsequent to January 6, 2020 and at all times relevant hereto,

RUSSELL MILLER was an agent, servant, and/or employee, whether actual or apparent of

Defendant TRADE-MARK INDUSTRIAL LLC.

        21.     That on, prior, and subsequent to January 6, 2020 and at all times relevant hereto,

JEREMY SMITH was an agent, servant, and/or employee, whether actual or apparent of

Defendant TRADE-MARK INDUSTRIAL LLC.

        22.     That on, prior, and subsequent to January 6, 2020 and at all times relevant hereto,

JUSTIN REED was an agent, servant, and/or employee, whether actual or apparent of Defendant

TRADE-MARK INDUSTRIAL LLC.

        23.     That on, prior, and subsequent to January 6, 2020 and at all times relevant hereto,

E. H. SCOTT was an agent, servant, and/or employee, whether actual or apparent of Defendant

TRADE-MARK INDUSTRIAL LLC.


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       24.     That on, prior, and subsequent to January 6, 2020 and at all times relevant hereto,

JEFF HORTON was an agent, servant, and/or employee, whether actual or apparent of Defendant

TRADE-MARK INDUSTRIAL LLC.

       25.     That on, prior, and subsequent to January 6, 2020 and at all times relevant hereto,

CHAD MANNS was an agent, servant, and/or employee, whether actual or apparent of Defendant

TRADE-MARK INDUSTRIAL LLC.

       26.     At all times relevant to this complaint, the agents, servants and/or employees,

whether actual or apparent, of defendant TRADE-MARK INDUSTRIAL LLC acted within the

scope of their agency, service, and/or employment.

       27.     That on and prior to January 6, 2020 and at all times relevant hereto TRADE-

MARK INDUSTRIAL LLC, by and through its agents and employees, whether actual or

apparent were installing a new track timbers for the incline railway tram at Kentucky American

Water Company in Lexington, Kentucky.

       28.     That on and prior to January 6, 2020 and at all times relevant hereto TRADE-

MARK INDUSTRIAL LLC, by and through its agents and employees, whether actual or

apparent were installing new incline railway tram Kentucky American Water Company in

Lexington, Kentucky.

       29.     That on and prior to January 6, 2020 and at all times relevant hereto TRADE-

MARK INDUSTRIAL LLC, by and through its agents and employees, whether actual or

apparent removed the overhead safety cage off the incline railway tram to work out the back of

the incline railway tram.

       30.     On January 6, 2020, plaintiff EDUARDO ALMEIDA was working as a painting

contractor at Kentucky American Water Company in Lexington, Kentucky.


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       31.     At the aforementioned time and place, the plaintiff EDUARDO ALMEIDA was a

passenger in the incline railway tram and intended to return to the main plant level at Kentucky

American Water Company.

       32.     On January 6, 2020, RUSSELL MILLER an agent and/or employee whether

actual or apparent of defendant TRADE-MARK INDUSTRIAL, LLC was the operator of the

incline railway tram at Kentucky American Water in Lexington, Kentucky.

       33.     At the aforementioned time and place, JEREMY SMITH, JUSTIN REED, E.H.

SCOTT, JEFF HORTON and CHAD MANNS agents and/or employees whether actual or

apparent of defendant TRADE-MARK INDUSTRIAL, LLC were also passengers in the incline

railway tram, which caused the total weight to exceed the capacity of the incline railway tram.

       34.     At the aforementioned time and place, the plaintiff EDAURDO ALMEIDA

expressed concern that the total weight exceed the capacity of the incline railway tram and advised

RUSSELL MILLER that he intended to exit the incline railway tram.

       35.     At the aforesaid time and place, the Plaintiff, EDUARDO ALMEIDA was a

permitted and intend user of the aforesaid incline railway tram and at all times was in the exercise

of care and caution for his own safety.

       36.     That on and prior to January 6, 2020 and at all times relevant hereto a start alarm

was to be initiated prior moving the incline railway tram.

       37.     That on and prior to January 6, 2020 and at all times relevant hereto the normal

capacity of the incline railway tram is six (6) persons or 1,200 pounds live load.

       38.     At the aforementioned time and place, as the plaintiff attempted to exit the incline

railway tram, RUSSELL MILLER, as agent and/or employee whether actual or apparent of


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Defendant TRADE-MARK INDUSTRIAL, LLC enabled tram motion causing the plaintiff

EDUARDO ALMEIDA to strike his head on the overhead concrete canopy which caused him to

bend backward resulting in severe and permanent injuries.

        39.    That the aforementioned time and place, a start alarm was not initiated prior to

moving the incline railway tram.

        40.    That at the time RUSSELL MILLER, as agent and/or employee whether actual or

apparent of Defendant TRADE-MARK INDUSTRIAL, LLC enabled tram motion, the overhead

safety cage was neither in place nor properly secured to the incline railway tram.

                                            COUNT I

        41.    That the Plaintiff, EDUARDO ALMEIDA hereby re-alleges and incorporates

paragraphs 1 through 40 of the Complaint as though fully set forth herein.

        42.    That on, prior, and subsequent to January 6, 2020, there existed a duty on the part

of the Defendant, TRADE-MARK INDUSTRIAL LLC, by and through its agents, servants

and/or employees, whether actual or apparent, to: (1) act in an ordinary careful and reasonable

manner so as to avoid unnecessary harm or injury to the Plaintiff; and (2) follow all mandatory

rules, procedures and regulations applicable to the incline railway tram at issue and other facts of

this case.

        43.    In disregarding the aforementioned duty, the Defendant, TRADE-MARK

INDUSTRIAL LLC, by and through its agents, servants, and/or employees whether actual or

apparent was then and there guilty of one or more of the following careless and negligent acts or

omissions:

                 a. Improperly operated and controlled the incline railway tram so that as a direct
                    and proximate result thereof, the Plaintiff was injured;



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                 b. Failed to observe safe operating procedures so that as a direct and proximate
                    result thereof, the Plaintiff was injured;

                 c. Transported passengers in the incline railway tram when the overhead safety
                    cage was neither in place nor properly secured;

                 d. Operated the incline railway tram when the Defendant knew or should have
                    known in the exercise of reasonable care that the total weight exceeded the
                    capacity of the incline railway tram;

                 e. Failed to make a reasonable inspection of the incline railway tram prior to
                    enabling tram motion when the Defendant knew or should have known in the
                    exercise of reasonable care that said inspection was necessary to prevent
                    injury to the Plaintiff; and/or

                 f. Failed to initiate a start alarm prior to enabling tram motion when Defendant
                    knew or should have known in the exercise of reasonable care that said
                    warning was reasonably necessary to prevent injury to the Plaintiff.

       44.     As a direct and proximate result of one or more of the foregoing negligent acts or

omissions of the Defendant, TRADE-MARK INDUSTRIAL LLC by and through its agents,

servants and/or employees, whether actual or apparent, the Plaintiff, EDUARDO ALMEIDA,

sustained severe and permanent injuries; was required to seek extensive medical and surgical

consultations and treatments; suffered, and will continue to suffer, great pain, anguish, and

physical suffering; has lost income and benefits of employment; and has expended, and will in the

future expend, great sums of money in attempts to be healed and cured of his maladies.

       WHEREFORE, the Plaintiff, EDUARDO ALMEIDA prays for judgment against the

Defendant, TRADE-MARK INDUSTRIAL LLC, in such amount in excess of this Court's

jurisdictional requisite as will fairly and adequately compensate him for his injuries, losses, and

damages as hereinabove alleged, as well as all interest and costs of this action and all other just

and proper relief.



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                                         Respectfully submitted,

                                         /s/ Beth Brown Nowak
                                         Beth Brown Nowak, Attorney for Plaintiffs,
                                         Atty. No.:24108-64

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